   Case 1:25-cv-00400-AHA   Document 87   Filed 05/02/25   Page 1 of 11




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


AIDS VACCINE ADVOCACY
COALITION, et al.,

            Plaintiffs,
                                          Civil Action No. 25-00400 (AHA)
      v.

UNITED STATES DEPARTMENT OF
STATE, et al.,

            Defendants.


GLOBAL HEALTH COUNCIL, et al.,

            Plaintiffs,
                                          Civil Action No. 25-00402 (AHA)
      v.

DONALD J. TRUMP, et al.,

            Defendants.



  DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION FOR INDICATIVE
          RULING REGARDING PRELIMINARY INJUNCTION
       Case 1:25-cv-00400-AHA           Document 87        Filed 05/02/25      Page 2 of 11




        Unless stayed or lifted, the past-payments provision of this Court’s preliminary injunction

would continue to “compel” Defendants “to pay . . . sum[s] of money” to non-Plaintiffs for work

completed prior to February 13, 2025. Great-West Life & Annuity Ins. Co. v. Knudson, 534 U.S.

204, 210-12 (2002). But “claim[s] for money due and owing” belong “quintessentially” in “an

action at law,” not in the instant suits purporting to invoke the waiver of sovereign immunity in 5

U.S.C. § 702 for relief “other than money damages.” Id. In Department of Education v. California,

145 S. Ct. 966 (April 4, 2025) (per curiam), the Supreme Court instructed that Knudson, rather

than Bowen v. Massachusetts, 487 U.S. 879 (1988), controls when the APA plaintiff seeks an order

requiring (among other things) payments of past-due federal funds under a grant.

        But this Court’s conclusion and decree regarding past payments is predicated on

application of Bowen. See Order, No. 25-cv-400 (Doc. 60), No. 25-cv-402 (Doc. 60), 2025 WL

752378 (D.D.C. Mar. 10, 2025), appeals docketed (D.C. Cir. Nos. 25-5097, 25-5098).

Accordingly, the Court should issue an indicative ruling under Rule 62.1 that, in light of California,

if the D.C. Circuit returned jurisdiction over the preliminary injunction to this Court, it would

dissolve for lack of subject-matter jurisdiction the past-payments provision of the preliminary

injunction as to non-Plaintiffs. That provision is very similar to the past-payments requirement of

the order stayed in California. See 145 S. Ct. at 968 (“[T]he Government is likely to succeed in

showing the District Court lacked jurisdiction to order the payment of money under the APA.”)

(emphasis added).     Plaintiffs’ opposition submissions do nothing to change that underlying

similarity.

        To be clear, the Government is committed to paying for work that was properly completed,

so long as the claims are legitimate. Hence, notwithstanding the administrative stay of the

challenged provision in place pending this Court’s disposition of the indicative ruling motion,

Defendants continue to process payments—both to Plaintiffs and to non-Plaintiffs—for work

performed before February 13, 2025 (the date of this Court’s temporary restraining order). For

example, over the five business days April 24-30, 2025, Defendants processed 1,379 payments to

non-Plaintiffs. And the value remaining to be processed correspondingly continues to fall. But

                                                  1
       Case 1:25-cv-00400-AHA          Document 87        Filed 05/02/25      Page 3 of 11




given the California ruling, any disputes that may arise about those payments do not belong within

the instant APA suits, and should instead be resolved in the appropriate forum for such contract-

based monetary payment claims, without exposing Defendants to the risk of contempt proceedings

predicated on the preliminary injunction as currently framed.

       1. Plaintiffs maintain (AVAC Opp. 6, GHC Opp. 10) that the monetary-payment

requirement for past work is an ancillary “consequence” of traditional APA nonmonetary relief,

but that position simply repeats the errors of the lower courts reined in by California. There, the

District Court’s temporary restraining order “enjoined” Government defendants “from

implementing . . . the termination of any previously awarded TQP or SEED grants for recipients

in Plaintiff States . . . and any other agency actions implementing such terminations, such as

suspension or withholding of any funds approved and obligated for the grants[.]” No. 25-cv-10548,

2025 WL 760825 at *5 (D. Mass. Mar. 10, 2025) (emphasis added). Denying a stay, 132 F.4th 92

(1st Cir. 2025), the First Circuit concluded that the provisional remedy was permissible under the

APA, relying on Bowen: The panel understood the challenge as not “seek[ing] damages owed on

a contract or compensation for past wrongs” but rather “want[ing]” the agency “to once again

make available already-appropriated federal funds for existing grant recipients.” Id. at 97. But

the Supreme Court rejected the First Circuit’s understanding of Bowen, instead concluding that

“the APA’s limited waiver of immunity does not extend to orders ‘to enforce a contractual

obligation to pay money’ along the lines of what the District Court ordered here. Instead, the

Tucker Act grants the Court of Federal Claims jurisdiction over suits based on ‘any express or

implied contract with the United States.”’ 145 S. Ct. at 968 (citation omitted). The Supreme

Court’s conclusion equally invalidates the preliminary injunction provision as to past payments on

which Defendants seek an indicative ruling.

       Also mistaken is Plaintiffs’ effort (AVAC Opp. 9-10) to depict California as involving

individual grant terminations while painting the claims underpinning the preliminary injunction

here as targeted at “the blanket foreign-assistance freeze.” When it comes to the past-payments

provision on which Defendants seek an indicative ruling, that is a distinction without a difference.

                                                 2
       Case 1:25-cv-00400-AHA            Document 87        Filed 05/02/25      Page 4 of 11




In both settings, the fundamental question is whether federal agencies are required to continue

making payments under the specific terms of the relevant funding instruments, and the instant

Plaintiffs assert that withholding such payments is unlawful—especially as to payments for work

completed before issuance of the temporary restraining order. “[T]he APA’s limited waiver of

immunity does not extend to orders ‘to enforce a contractual obligation to pay money,”’ California,

145 S. Ct. at 968, regardless whether that order is entered in an action disputing a grant termination

or one disputing a withholding of payment—the type of relief provided is the same, and it is equally

precluded in both. Any such contractual challenge rests with the Court of Federal Claims under

the Tucker Act. Id.

       GHC Plaintiffs further err in asserting (GHC Opp. 13-14) that the past-payments provision

can be recharacterized and validated as fitting within an exception the Knudson Court recognized

to its general rule that “suits seeking (whether by judgment, injunction, or declaration) to compel

the defendant to pay a sum of money to the plaintiff are suits for ‘money damages.’” 534 U.S. at

210 (quoting Bowen 487 U.S. at 918-19 (Scalia, J., dissenting)). That exception, for “rare cases in

which a court of equity would decree specific performance of a contract to transfer funds,” is

confined to “suits that . . . sought to prevent future losses that either were incalculable or would be

greater than the sum awarded.” Id. at 211 (emphasis added). But for purposes of this motion, even

assuming, arguendo, that some aspects of the relief Plaintiffs have “sought” in the instant suits

aims “to prevent future losses,” the past-payment decree is not directed to “prevent[ion]” of “future

losses.” Conflating backward-looking with forward-looking relief as this argument does is

incorrect.1



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   Having sought and obtained the past-payment provision in the preliminary injunction, Plaintiffs
cannot classify themselves as litigants not “seeking only forward-looking relief,” whose “past
injuries” would be “relevant only for their predictive value.” Cf. Murthy v. Missouri, 603 U.S. 43,
59 (2024). Rather, as another District Court put it when denying an injunction: Plaintiffs “want[]
the Government to keep paying up”—including “money due” for the past work. U.S. Conference
of Catholic Bishops v. U.S. Dep’t of State, No. 25-cv-465, 2025 WL 763738 at **5-6 (D.D.C. Mar.
11, 2025), injunction pending appeal denied before voluntary dismissal, No. 25-5066 (D.C. Cir.
Mar. 28, 2025) (per curiam).

                                                  3
       Case 1:25-cv-00400-AHA            Document 87        Filed 05/02/25       Page 5 of 11




        The same failure to distinguish past from future undercuts AVAC Plaintiffs’ attempt (Opp.

11) to validate the past-payments provision by taking phrases from Maine Community Health

Options v. United States, 590 U.S. 296 (2020), out of context. The past-payment provision at issue

in the instant suits compels payment of specific past-due sums and therefore puts the provision “in

the Tucker Act’s heartland.”      Id. at 327. That provision is not an award of “prospective,

nonmonetary relief,” and the provision does not purport to manage any “complex ongoing

relationship” between Plaintiffs and the Government, id., akin to the Federal Government’s

“ongoing obligations under the Medicaid program” that the State Plaintiff in Bowen sought to

clarify via the APA suit decided in Bowen. No statutes akin to Medicaid impose a “complex

ongoing relationship” between Defendants and Plaintiffs here. And in the terms used in Maine

Community Health, the past-payments provision of the preliminary injunction continues to require

the Government to pay “specific sums already calculated” that are “designed to compensate for

completed labors.” Id. California sends a dispute over those sums to the Court of Federal Claims.

        2. Plaintiffs fare no better in arguing that their constitutional claims justify declining to

apply the California ruling to the past-payments provision in the preliminary injunction. GHC

Opp. 14-15; AVAC Opp. 8-9. GHC Plaintiffs’ contention (Opp. 14) that the preliminary injunction

is “independently support[ed]” by their “nonstatutory constitutional and ultra vires claims,” and

AVAC Plaintiffs’ similar emphasis on their “alleged claims sounding in the Constitution” (Opp. 8),

ignores the precise focus of the indicative ruling Defendants request: The motion asks the Court

to apply the California ruling only to the past-payments provision, which the Court grounded in

its APA rationale (in the temporary restraining order), not on Plaintiffs’ constitutional or ultra vires

claims (which the Court did not address in issuing the temporary restraining order). 2025 WL

485324 at *5. Moreover, Plaintiffs err in asserting that a constitutional or ultra vires claim can

proceed regardless of whether the APA’s waiver of sovereign immunity in § 702 applies. That

“waiver is not limited to APA cases,” as the D.C. Circuit explained in Trudeau v. FTC, 456 F.3d

178 (D.C. Cir. 2006): § 702 “permits not only” a litigant’s “APA cause of action,” but his



                                                   4
       Case 1:25-cv-00400-AHA            Document 87        Filed 05/02/25      Page 6 of 11




“nonstatutory and First Amendment actions as well,” such that the District Court has “subject-

matter jurisdiction to hear” that “suit under 28 U.S.C. § 1331.” Id. at 187.

       In any event, even if they were somehow to locate a waiver, California still teaches that

their claim would fail on the merits—i.e., for lack of a cause of action. Plaintiffs’ comparison to

Ex parte Young (concerning state officials), 209 U.S. 123, 155-56 (1908), shows that they rely on

the principle that “federal courts may in some circumstances grant injunctive relief against . . . .

violations of federal law by federal officials,” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S.

320, 327 (2015). That “ability to sue to enjoin unconstitutional actions by state and federal officers

is the creation of courts of equity,” id. (emphasis added), and Congress’s grant of equity jurisdiction

to the federal courts is confined to the relief that “was traditionally accorded by courts of equity,”

Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 318-19, 329 (1999)

(emphasis added). Faced with the California Court’s adherence to Knudson, Plaintiffs cannot

show that the past-payments provision is relief “traditionally” granted in equity, id., because “an

injunction to compel the payment of money past due under a contract, or specific performance of

a past due monetary obligation, was not typically available in equity.” Knduson, 534 U.S. at 210-

11. Hence, a court of equity would not “traditionally” have imposed the past-payments provision,

and the cause of action described in Armstrong is not available to seek that provision.

       Contrary to GHC Plaintiffs’ further contention (GHC Opp. 15), requiring them to proceed

in the Claims Court on their past-payment demands would not leave them unable to raise their

separation of powers allegations.      Plaintiffs argue that they could not bring a freestanding

separation of powers claim in that forum, citing a decision concerning a terminated federal

employee’s complaint containing “counts alleging violation of his rights,” including under “the

doctrine of separation of powers,” about which the court stated: “None of these is a sufficient

basis for jurisdiction because they do not mandate payment of money by the government.”

LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995). But even absent Tucker Act

jurisdiction over Plaintiffs’ standalone separation of powers claim, that would hardly leave them

stranded: Because their past-payment demands seek “to enforce a contractual obligation to pay

                                                  5
       Case 1:25-cv-00400-AHA           Document 87        Filed 05/02/25      Page 7 of 11




money,” California, 145 S. Ct. at 968 (quoting Knudson, 534 U.S. at 212), they can open the

Claims Court’s doors via their breach of contract claim, and present whatever allegations they wish

in support of that claim. The “presumption” that “a damages remedy will be available upon the

breach of an agreement . . . normally satisfies the money-mandating requirement for Tucker Act

jurisdiction, with no further inquiry being necessary.” See Boaz, 994 F. 3d at 1364; Me. Cmty.

Health, 590 U.S. at 322.

       3. In a further effort to dodge California, Plaintiffs assert again (AVAC Opp. 11-12, GHC

Opp. 11-12) that various categories of funding instruments at issue in these suits cannot sustain

money damages claims, and so fall outside the subject-matter jurisdiction of the Claims Court.

But “any agreement can be a contract within the meaning of the Tucker Act, provided that it meets

the requirements for a contract with the Government, specifically: mutual intent to contract

including an offer and acceptance, consideration, and a Government representative who had actual

authority to bind the Government.” Trauma Serv. Grp. v. United States, 104 F.3d 1321, 1326 (Fed.

Cir. 1997) (emphasis added).

       Plaintiffs have shirked their obligation to undertake that contract-specific analysis. Instead,

GHC Plaintiffs fret about the funding instruments of “implementing partners” (GHC Opp. 11-12),

a vague term that is apparently meant to capture the circumstances of non-Plaintiffs—i.e.,

businesses or organizations not before the Court, as to whom an Article III court would not

properly grant relief in any case. The Supreme Court recently granted a stay of an injunction to

the extent it provided relief to non-parties. See Labrador v. Poe, 144 S. Ct. 921 (2024). That

served to “remind lower courts of the foundational rule that any equitable remedy they issue” must

be tailored to “the plaintiff ’s injuries.” Id. at 927 (Gorsuch, J., concurring). And even apart from

that Article III deficiency, Plaintiffs’ argument that California does not apply because some of the

funding instruments at issue in these suits are categorically exempt from Tucker Act jurisdiction

is mistaken.

       One type of agreement Plaintiffs mischaracterize is a “cooperative agreement.”              In

particular, GHC Plaintiffs err in contending (GHC Opp. 11-12) under Rick’s Mushroom Serv., Inc.

                                                  6
       Case 1:25-cv-00400-AHA            Document 87        Filed 05/02/25       Page 8 of 11




v. United States, 521 F.3d 1338, 1343 (Fed. Cir. 2008), that breaches of funding instruments styled

as cooperative agreements are generically incapable of sustaining money damages and hence fall

outside the subject-matter jurisdiction 28 U.S.C. § 1491(a)(1) confers on the Court of Federal

Claims.   The Federal Circuit has described Rick’s Mushroom as involving a “cost-sharing

agreement with the [G]overnment,” Boaz Hous. Auth. v. United States, 994 F.3d 1359, 1365

(2021), one that was “unique,” Holmes v. United States, 657 F.3d 1303, 1315 (Fed. Cir. 2011), or

“special,” Rocky Mountain Helium, LLC v. United States, 841 F.3d 1320, 1327 (Fed. Cir. 2016).

Such a “unique” agreement is “exempt from the presumption that damages are available upon the

breach of a contract,” Boaz, 994 F.3d at 1365, which does not mean that every “cooperative

agreement” is generically incapable of sustaining money damages. Rather, the precedent simply

means that the agreement itself must be examined on that point. Again, as part of their burden to

establish subject-matter jurisdiction, Plaintiffs must conduct that examination; in light of

California, their failure to address the point cannot mean that jurisdiction exists in this Court. 2

       Another type of agreement Plaintiffs mischaracterize is a grant. Defendants have not

argued that grants are categorically incapable of sustaining money damages—only that particular

grants by their terms have been in other cases. See Columbus Regional Hosp. v. United States,

990 F.3d 1330, 1338 (Fed. Cir. 2021) (describing San Juan City College v. United States, 391 F.

3d 1357, 1360-62 (Fed. Cir. 2004), among the precedents “treating federal grant agreements as




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 In the preliminary injunction decision, 2025 WL 752378 at *9 n.7, this Court relied on American
Near East Refugee Aid v. USAID, 703 F. Supp. 3d 126, 134 (D.D.C. 2023), which it described as
declining “application of [the] Tucker Act to [a] USAID cooperative agreement.” In turn, that
decision relied on St. Bernard Parish Government v. United States, 134 Fed. Cl. 730, 736 (2017),
aff’d on other grounds, 916 F.3d 987 (Fed. Cir. 2019), which concerned a cooperative agreement
between the United States and a local government entity rather than a private organization, and, in
any event, the Claims Court’s decision since has been questioned. See Boaz, 994 F.3d at 1371 n.8
(noting that on appeal, Federal Circuit concluded Claims Court in St. Bernard Parish mistook a
merits question as jurisdictional). And despite the contrary suggestion in St. Bernard Parish,
“cooperative agreements are not categorically excluded from” Tucker Act “jurisdiction.” San
Antonio Hous. Auth. v. United States, 143 Fed. Cl. 425, 462-63 (2019).

                                                   7
       Case 1:25-cv-00400-AHA           Document 87        Filed 05/02/25       Page 9 of 11




contracts when the standard conditions for a contract are satisfied, including that the federal entity

agrees to be bound”) (emphasis added). 3

       4. Also unfounded is Plaintiffs’ contention (GHC Opp. 5-6) that the Court could decline

to apply California to the past-payments provision based on Plaintiffs’ assertions of perceived

deficiencies in Defendants’ compliance with that provision. The California ruling at a minimum

raises a question about the Court’s subject-matter jurisdiction, and hence cannot be subordinated

to Plaintiffs’ view of the competing equities, given that courts have an “independent obligation to

assure” themselves “that jurisdiction is proper” before ordering relief. Plains Commerce Bank v.

Long Family Land & Cattle Co., 554 U.S. 316, 324 (2008). That “obligation extends to sovereign

immunity,” including whether the APA’s waiver applies or is impliedly displaced by other statutes.

Perry Capital LLC v. Mnuchin, 864 F.3d 591, 619 (D.C. Cir. 2017).

       Plaintiffs’ assertions about deficiencies are inconsequential in any event. Defendants’

weekly status reports have explained that after initially far exceeding this Court’s metric for

processing the past payments to Plaintiffs and non-Plaintiffs, the processing rate slowed because

the remaining transactions presented particular documentation questions warranting additional

labor by agency personnel. Moreover, GHC Plaintiffs on April 15, 2025 presented Defendants

with several spreadsheets describing particular payment demands, including for transactions post-

dating February 13, 2025 and hence at least partially outside the scope of the past-payments

provision in the preliminary injunction. Given that payments processing is resource intensive and

that Plaintiffs and non-Plaintiffs have continued to submit new requests for payments even after


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   GHC Plaintiffs err in contending (Opp. 12 n.3) that the Government’s position in a pending
Federal Circuit case, 112 Genesee Street, LLC v. United States (No. 25-1373), conflicts with its
position here; that case does not concern Tucker Act jurisdiction based on contracts at all. As
explained above, pp. 5-6, supra, to invoke the jurisdiction of the Claims Court under the Tucker
Act, the Plaintiffs before this Court will look to their funding instruments—that is, they do not
need to show that any constitutional or statutory provision is money mandating. See Boaz, 994 F.
3d at 1364. By contrast, a central question in 112 Genesee Street LLC, is whether 15 U.S.C.
§ 9009c, a statute under which the Small Business Administration made certain grants, is money
mandating; the Government’s position is that the statute is not money mandating simply because
it requires issuance of grants. See No. 23-1876C, 2024 WL 4564607 at **2, 4 (Ct. Cl. Oct. 24,
2024) (certifying questions for interlocutory appeal).
                                                  8
      Case 1:25-cv-00400-AHA           Document 87         Filed 05/02/25      Page 10 of 11




the Court issued the preliminary injunction, it is not surprising that Defendants have needed to

revise their estimated payments completion date. Even faced with those practical constraints,

Defendants are nearing completion of the past payments to Plaintiffs, so the conditions that

Plaintiffs alleged in their temporary restraining order submissions in February as to past payments

have significantly moderated. Plaintiffs’ criticisms reflect an impractical and excessively stringent

standard. They do not account for the obligation of the courts to have “due regard for the feasibility

of any compliance timelines.” 145 S. Ct. 753, 753 (2025).

       5. Plaintiffs’ assorted procedural objections are unavailing and cannot justify ignoring the

California ruling. AVAC Opp. 2-5; GHC Opp. 3-5. This Court is not precluded from applying

that ruling now, either by the D.C. Circuit’s dismissal for lack of appellate jurisdiction of

Defendants’ appeal from the order initially imposing the past-payments requirement, No. 25-5046,

2025 WL 621396, at *1 (D.C. Cir. Feb. 26, 2025), or by the Supreme Court’s denial of a stay of

that order, 145 S. Ct. at 753. Those decisions did not comment on Defendants’ previous sovereign

immunity argument. And when Defendants raised that argument before they did not have the

benefit of the subsequent California decision, an intervening change in the law Defendants

promptly called to this Court’s attention. See Am. Ass’n of Colleges for Teacher Educ. v.

McMahon, No. 25-1281, 2025 WL 1232337 at *1 (4th Cir. Apr. 10, 2025).

       Moreover, given that this Court has an independent obligation to ensure that its orders are

within its subject-matter jurisdiction, see Plains Commerce Bank, 554 U.S.at 324—and that lack

of subject-matter jurisdiction can be raised at any time, see Gonzalez v. Thaler, 565 U.S. 134, 141

(2012) (“Subject-matter jurisdiction can never be waived or forfeited.”)—it would be appropriate

for this Court to render its conclusion about the effect of the California ruling on the preliminary

injunction even during the pendency of the appeal. The past-payments provision, if not lifted or

at least stayed, would continue to hold Defendants to a timetable managed by this Court, despite

Defendants’ continuing objection that Article III does not allow a court to issue universal relief to

non-parties. See Labrador, 144 S. Ct. at 921. Plaintiffs do not even attempt to offer a solution to

that Article III problem.

                                                  9
    Case 1:25-cv-00400-AHA   Document 87   Filed 05/02/25      Page 11 of 11



Dated: May 2, 2025                   Respectfully submitted,
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